                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:09-cv-312-FDW
                               (3:02-cr-190-FDW-1)

HECTOR RUBEN MCGURK,                             )
                                                 )
                   Petitioner,                   )
              v.                                 )
                                                 )                 ORDER
UNITED STATES OF AMERICA,                        )
                                                 )
                    Respondent.                  )
                                                 )

       THIS MATTER is before the Court on Respondent’s Motion for Summary Judgment, (Doc.

No. 23), as to all claims raised by Petitioner in his Motion to Vacate, Set Aside or Correct Sentence

pursuant to 28 U.S.C. § 2255. (Doc. No. 1). For the reasons that follow, Respondent’s Motion will

be granted, and Petitioner’s Section 2255 motion will be denied and dismissed.

                                       I. BACKGROUND

       Following a trial by jury in the Western District of North Carolina, Petitioner was found

guilty of conspiracy with intent to distribute in excess of 1000 kilograms of marijuana, in

violation of 21 U.S.C. §§ 841 and 846, and conspiracy to commit money laundering, in violation

of 18 U.S.C. § 1956. Petitioner was sentenced to life imprisonment, and he noted a timely appeal

to the United States Court of Appeals for the Fourth Circuit.

       On appeal, Petitioner raised several arguments, all of which were rejected by the Fourth

Circuit. Of importance to the present inquiry, Petitioner argued that the evidence presented at

trial was insufficient to support his convictions. The Court disagreed with this argument after

finding that there was substantial evidence to support his convictions. United States v. McGurk,

290 F. App’x 585, 587 (4th Cir. 2008) (unpublished). Next, the Court rejected Petitioner’s

                                                 1


      Case 3:02-cr-00190-FDW           Document 213        Filed 08/29/12      Page 1 of 12
argument that the district court erred in admitting a tape recording into evidence. The tape

recording captured a phone call between Petitioner and a co-conspirator. Petitioner argued that

the admission of the tape violated his rights as protected by the Confrontation Clause “because

the agent who monitored the phone call allegedly did not disclose his proximity to the co-

conspirator at [Petitioner’s] first trial and was not available to be cross-examined on this issue at

the second trial that resulted in [Petitioner’s] convictions.” Citing Petitioner’s failure to object to

this evidence at trial, the Court examined Petitioner’s argument under the plain error standard.

Id. The Court found that they could exercise discretion “to notice the error only ‘if the error

seriously affect[ed] the fairness, integrity or public reputation of the judicial proceedings.’” Id.

(quoting United States v. Olano, 507 U.S. 725, 736 (1993)). In dismissing this argument, the

Court observed that Petitioner had failed to “identify a testimonial statement that was not subject

to cross-examination.” Id. at 588.

        Last, Petitioner challenged the district court’s imposition of the sentence of life

imprisonment. The Court denied this claim for relief after concluding that the district court did

not commit any procedural errors in imposing the sentence and the imposition of life was

substantively reasonable in light of the record. Id.

                                 II.   STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Government has filed a motion for summary judgment on all claims raised by

Petitioner in his Section 2255 motion. (3:09-cv-312, Doc. No. 23).

        Petitioner requests an evidentiary hearing, “if necessary” to resolve the claims raised in

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      Case 3:02-cr-00190-FDW            Document 213         Filed 08/29/12       Page 2 of 12
his Section 2255 motion. (Doc. 24 at 6). After having considered the record in this matter, the

Court finds that this matter can be resolved without an evidentiary hearing. See Raines v. United

States, 423 F.2d 526, 529 (4th Cir. 1970).

                                        III.   DISCUSSION

          A.     Ground One: unlawful arrest and detention, prosecutorial misconduct,
                 government collusion, denial of effective assistance of counsel (addressed
                 infra at III.B.), all in violation of 4th, 5th, 6th, and 8th Amendments.

(3:09-cv-312, Doc. No. 1 at 5).1

          Due to the wholly convoluted and thoroughly meandering nature of Petitioner’s

arguments, as he has presented such arguments throughout his Section 2255 motion, perhaps it is

best to let the Petitioner sum up his own argument in Ground One:

          Mr. McGurk’s unlawful arrest was the product of egregious conduct by federal agents in
          conjunction with government cooperating witnesses, whom clandestinely formed a
          collusion and contrived “fraudulent” witness tampering charges against Mr. McGurk . . .
          that resulted in Mr. McGurk’s unlawful arrest and detention. The meticulous planning
          and execution of the cabalist’s intent triggered the derailment and subversion of justice,
          in violation of Mr. McGurk’s Fourth, Fifth, Sixth, and Eighth Amendment Rights to the
          United States Constitution.

(Id.).

Petitioner’s arguments in this section address what he contends are constitutional violations

stemming from witness tampering charges, charges for which Petitioner was not convicted and

such charges are not properly addressed in this Section 2255 motion. Petitioner’s arguments

regarding government collusion will be address below, infra at III.C.

          28 U.S.C. § 2255(a) provides as follows:

          A prisoner in custody under sentence of a court established by Act of Congress claiming


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         All citations to documents of record are to the page numbers as identified by the bottom
footer produced by the Clerk’s ECF system.

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         Case 3:02-cr-00190-FDW          Document 213        Filed 08/29/12     Page 3 of 12
        the right to be released upon the ground that the sentence was imposed in violation of the
        Constitution or laws of the United States, or that the court was without jurisdiction to
        impose such sentence, or that the sentence was in excess of the maximum authorized by
        law, or is otherwise subject to collateral attack, may move the court which imposed the
        sentence to vacate, set aside or correct the sentence.

(emphasis added).

        As noted above, Petitioner was indicted and convicted for violations of conspiracy with

intent to distribute in excess of 1000 kilograms of marijuana, in violation of 21 U.S.C. §§ 841

and 846, and conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956, and the

Fourth Circuit upheld these convictions in their entirety after finding that the convictions were

supported by substantial evidence. While Petitioner was charged with witness tampering, he was

ultimately acquitted of that charge in his first trial which involved the counts of conviction noted

above and other charges which will be addressed below. To the extent Petitioner is seeking to

argue prejudice, in whatever form he casts it in his first ground for relief, based on an arrest for

which he was not convicted, and a charge which is not the subject of his current convictions or

sentence, his claims must fail. Petitioner’s Ground One is denied and dismissed.

        B.      Ground Two: Ineffective Assistance of Counsel

        In order to prevail on a claim of ineffective assistance of counsel, a petitioner must show

that: (1) “counsel’s representation fell below an objective standard of reasonableness,” and (2)

“the deficient performance prejudiced the defense. This requires showing that counsel’s errors

were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable. Unless a

defendant makes both showings, it cannot be said that the conviction . . . resulted from a

breakdown in the adversary process that renders the result unreliable.” Strickland v. Washington,

466 U.S. 668, 687 (1984). To establish prejudice under Strickland a defendant bears the burden

of showing “that there is a reasonable probability that, but for counsel’s unprofessional errors,

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      Case 3:02-cr-00190-FDW            Document 213         Filed 08/29/12       Page 4 of 12
the result of the proceeding would have been different.” Id. at 694. “When a defendant

challenges a conviction, the question is whether there is a reasonable probability that, absent the

errors, the factfinder would have had a reasonable doubt respecting guilt.” Id. at 695. “In making

this determination, a court hearing an ineffectiveness claim must consider the totality of the

evidence before the judge or jury . . . a verdict or conclusion only weakly supported by the

record is more likely to have been affected by errors than one with overwhelming record

support.” Id. In reviewing claims of ineffective assistance of counsel, “[j]udicial scrutiny of

counsel’s performance must be highly deferential.” Id. at 689. In fact, the Court must make

“every effort . . . to eliminate the distorting effects of hindsight,” and examine such claims with a

“strong presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance.” Id. Ultimately, the petitioner bears the burden of proving prejudice

under Strickland, and if he fails to do so “a reviewing court need not consider the performance

prong.” Fields v. Attorney Gen. of State of Md., 956 F.2d 1290, 1297 (4th Cir. 1992), cert.

denied, 506 U.S. 885 (1992). If the petitioner fails to make both showings under Strickland, then

his claims of ineffective assistance of counsel must fail. Strickland, 466 U.S. at 686.

       On June 29, 2004, Petitioner was named in an eleven count, third superseding indictment.

(3:02-cr-190, Doc. No. 38). The charges in this indictment came on for trial before a jury in the

Western District on December 6, 2004, the Honorable Graham C. Mullen presiding. In Counts

One and Three, the jury deadlocked and the court declared a mistrial as to those counts.2 Counts

Four through Eleven of the third superseding indictment were dismissed at Petitioner’s first trial

following a motion for judgment of acquittal under Rule 29 of the Federal Rules of Criminal


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        Counts One and Three were the same charges on which Petitioner was ultimately
convicted following a retrial in March 2005.

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      Case 3:02-cr-00190-FDW           Document 213         Filed 08/29/12      Page 5 of 12
Procedure. (Docket Entry, December 9, 2004). Petitioner was acquitted by the first jury of Count

Two. (Doc. 95: Jury Verdict).

       On April 4, 2005, Petitioner was retried on Counts One and Three before a jury in the

Western District with the Honorable James C. Cacheris presiding. As noted, the jury found

Petitioner guilty of Counts One and Three, and the Fourth Circuit upheld the convictions in their

entirety and the sentence of life imprisonment.

       Petitioner makes lengthy, rambling arguments regarding the deficiencies of attorneys

which represented him during the course of his time spent facing criminal charges in the Western

District. Petitioner’s arguments regarding counsel that did not represent him during the trial

where he was convicted of Counts One and Three are not cognizable in this collateral

proceeding. As the Court previously observed, this Section 2255 proceeding is strictly limited to

a challenge to Petitioner’s convictions and sentence in his retrial. Petitioner is simply not entitled

to habeas relief on claims regarding alleged actions, or omissions, of his attorneys as it pertains

to his first trial. See (3:09-cv-312, Doc. No. 1 at 23-48: detailing seemingly endless objections to

performance of his Texas trial counsel, Mr. Olivas). During his retrial, Petitioner was

represented by Richard A. Culler, and arguments regarding ineffective assistance of counsel, or

government misconduct, for instance, will be limited to the facts extant from the record

surrounding Petitioner’s March 2005 retrial.

       Petitioner contends Mr. Culler was ineffective for failing to properly prepare for his

retrial. This lack of preparation, Petitioner argues, includes failing to involve Petitioner in

preparation for his retrial, failing to conduct a proper investigation into the allegations of Counts

One and Three, failing to employ an investigator, and failing “to meticulously sift through the

vast amount of discovery material and information intentionally overlooking potential

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      Case 3:02-cr-00190-FDW            Document 213         Filed 08/29/12      Page 6 of 12
exculpatory documents and information necessary to challenge and belie the government’s

evidence and witness’ testimony.” (Doc. No. 1-1 at 4-5). The net result, as Petitioner maintains,

is that Mr. Culler’s lack of preparation prevented Culler from discovering “exculpatory

documents that could only have been discovered through the painstaking task of reading the

discovery material or through a thorough investigation of the case.” (Id. at 5).

        It is Petitioner’s burden to prove that his counsel’s representation fell below an objective

standard of reasonable and that he suffered prejudice as a result. While Petitioner cites to various

alleged instances in his motion, he has failed to carry his burden to show he is entitled to any

relief under Strickland. For instance, Petitioner contends that Mr. Culler only visited him a

handful of times in jail prior to his retrial, and that his counsel failed to alert the Court to what

Petitioner asserts was a bombardment of media attention in the lead-up to the retrial. (Id. at 7).

The Government has responded to these allegations with a twelve page affidavit from Mr. Culler

which attempts to address the many, many claims raised by Petitioner. (Doc. No. 16-1: Affidavit

of Richard Culler (“Culler Aff.”)).

        In August 2003, Mr. Culler was appointed as lead counsel in Case No. 3:03-cr-132 which

is the case involving the witness tampering charge that was eventually consolidated with Case

No. 3:02-cr-190. Mr. Culler was appointed as local counsel to represent Petitioner in March

2004; Mr. Olivas, Petitioner’s Texas counsel, retained primary duties of representation in Case

No. 3:02-cr-190.(Culler Aff. ¶¶ 4-5). See (3:02-cr-190, Docket Entry: Inquiry into Status of

Counsel). Mr. Culler’s affidavit details extensive, cross-county preparation with Mr. Olivas, who

was stationed mainly in Texas, as they prepared to challenge the charges pending in the Western

District, i.e. “countless hours preparing our trial strategy, and in addition, discussing that strategy

with [Petitioner] by means of in-person conferences, telephone communication and mail.” (Id. ¶¶

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      Case 3:02-cr-00190-FDW             Document 213         Filed 08/29/12       Page 7 of 12
7-8). Mr. Culler’s affidavit also points to the benefit in preparing for the retrial from the many

detailed outlines prepared by Petitioner in advance of the first trial “which described what, in his

judgment, were the appropriate areas of cross examination and impeachment of government

witnesses; particularly the many co-defendants which we knew would be called by the

Government during the course of the trial to testify against [Petitioner].” (Id. ¶ 9). Mr. Culler

described these outlines as helpful in “identifying areas of weakness in the government’s case,

which may not have been readily apparent from some of the discovery materials produced, to

further providing counsel with guidance as to how [Petitioner] would prefer that we proceed with

respect to attacking the Government’s case-in-chief.” (Id.). Mr. Culler addressed the possible use

of an investigator and concluded that the defense would not likely be helped by the services of

an investigator “since much of the information that we felt was exculpatory in nature had

already been secured by the Government and turned over to the defense as part of the

discovery.” (Id. ¶ 11).

       In his response to Mr. Culler’s affidavit, Petitioner alleges that at their first meeting,

Culler expressed that he was not interested in the witness tampering case for which he was

appointed, 3:03-cr-132, and that Culler expressed that Mr. Olivas should represent Petitioner on

the drug charges in 3:02-cr-190 (of which he was largely convicted), and on the witness

tampering charge. (Doc. No. 18 at 29). Contrary to this assertion, Culler’s affidavit demonstrates

that he dove headlong into representation of Petitioner, and he did so despite the inherent

limitations in the cross-country preparation that was necessary for much of the time, and the

voluminous amount of discovery produced by the Government. Moreover, and most importantly

for the analysis of Petitioner’s Strickland claims, Mr. Culler represented Petitioner admirably in

the face of what was evidence of overwhelming guilt, guilt the Fourth Circuit concluded was

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      Case 3:02-cr-00190-FDW            Document 213         Filed 08/29/12      Page 8 of 12
supported by substantial evidence. McGurk, 290 F. App’x at 587 (“[W]e conclude substantial

evidence supported McGurk’s convictions.”). In his response, Petitioner presents a broadside

attack, with minute critiques of every aspect of Mr. Culler’s representation. However, this sort of

attack is merely conclusory and does nothing to further Petitioner’s admitted mission to

demonstrate Strickland prejudice. Petitioner’s assertion that Mr. Culler’s trial preparation was

simply insufficient does not alert this Court to prejudice. Mr. Culler’s affidavit makes plain that

he spent a substantial amount of time preparing for Petitioner’s first trial and for his retrial. In

particular, preparation time spent reviewing Petitioner’s trial outlines, reviewing the

Government’s extensive discovery, and reviewing the trial transcripts from the first trial.

        The fact that there were numerous witnesses and hours of testimony presented by the

Government which provided substantial evidence of Petitioner’s guilt on Counts One and Three

cannot be attributed to Mr. Culler’s allegedly deficient preparation. What Petitioner has really

endeavored to do throughout his 200-plus page Section 2255 motion, and his 45 page response to

the Government’s response, is to challenge the sufficiency of the evidence which the jury relied

upon to convict him at trial. Challenges to the credibility of the witnesses, or to the evidence

presented, are foreclosed by the Fourth Circuit’s opinion affirming Petitioner’s convictions. The

jury heard testimony over the course of four days, from April 4, 2005 through April 8, 2005. The

jury retired to deliberate at 11:48 a.m. and returned with a verdict of guilty on Counts One and

Three at 12:56 p.m., or a little over an hour later. (3:02-cr-190, Doc. No. 168: Trial Transcript at

87).

        In sum, a review of the transcript of Petitioner’s retrial and the record in this matter

demonstrate overwhelming evidence of Petitioner’s guilt. Questions regarding the credibility of

the witnesses are not properly considered on direct appeal, and certainly not in this collateral

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       Case 3:02-cr-00190-FDW           Document 213         Filed 08/29/12       Page 9 of 12
proceeding. Moreover, Mr. Culler’s affidavit provides significant evidence which amply rebuts

Petitioner’s conclusory statements regarding Culler’s alleged unpreparedness for the retrial.

Petitioner’s arguments regarding the ineffective assistance of counsel are unsupported by the

record and are therefore denied and dismissed.

       C.   Grounds Three, Four and Five: Claims against the Government and the Court

       These claims again meld arguments regarding ineffective assistance of counsel,

prosecutorial misconduct, due process violations, and a defective bill of indictment.3 As to the

latter claim, Petitioner’s claim regarding the indictment must be dismissed. Petitioner argues that

the dates for the conspiracy, as alleged in the indictment, set the parameters for the introduction

of relevant evidence. (3:09-cv-312, Doc. 1-4 at 13). The jury’s verdict sheet makes plain that the

fact finders considered Count One, the conspiracy to possess with intent to distribute marijuana,

and found sufficient evidence of the conspiracy to return a verdict of guilty. (3:02-cr-190, Doc.

No. 133 at 1). And again, Petitioner launches into descriptions and arguments about the evidence

presented at trial, but these arguments are foreclosed by the Fourth Circuit’s decision on direct

appeal. Petitioner cannot reiterate this argument regarding the evidence in this Section 2255

proceeding. See Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976) (In a

Section 2255 proceeding, a petitioner “will not be allowed to recast, under the guise of a

collateral attack, questions fully considered” and decided on direct appeal); see also United

States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993) (holding that the law of the case doctrine “forecloses

relitigation of issues expressly or impliedly decided by the appellate court.”).

       Petitioner’s argument regarding Government misconduct begins as follows:


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         Petitioner’s claims regarding ineffective assistance of counsel have been addressed
supra, at III.B, and will therefore not be addressed herein.

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     Case 3:02-cr-00190-FDW            Document 213        Filed 08/29/12      Page 10 of 12
        It is an indisputable fact that the core of the government’s case was its reliance upon the
        veracity of its cooperating witnesses to prove its case against Mr. McGurk. This case is
        devoid of tangible supporting evidence that would sustain the testimony of government
        cooperating witnesses. At best the government’s case only germinates a scenario of
        piling inference upon inference.

(Id. at 17).

Petitioner contends that agreements between the Government and cooperating witnesses “opened

the flood gates to the germination of fraud by its cooperating witnesses.” (Id.). Petitioner’s

arguments regarding Government misconduct, fraud, false and misleading evidence and perjury

are unsupported by any evidence offered by Petitioner, or in the record. The fact is, these

witnesses were called by the Government, and subjected to vigorous cross-examination by

Petitioner’s trial counsel, Mr. Culler. It is not an actionable claim in this habeas proceeding to

merely express frustration or disagreement with the nature of the witnesses’ testimony. These are

again unadorned attacks on the credibility of the witnesses, and nakedly unsupported allegations

of Government participation in a fraud upon the Court.

        In conclusion, Petitioner’s repeated attacks on the credibility of the witnesses who gave

testimony against him must fail. So too, must his unsupported attacks on the Government.

Further, there is no merit to an insinuation in a collateral proceeding that plea agreements

between the Government and cooperating witnesses runs afoul of any of Petitioner’s rights so

long as the Petitioner had the opportunity to cross-examine the witnesses and raise issues

regarding their credibility. As the Court has found already, Petitioner’s counsel subjected each

witness to a full and fair cross-examination.

        Petitioner’s arguments herein are nothing short of an attack on the evidence presented

which was found on direct appeal to be substantial evidence supporting the jury’s finding of

Petitioner’s guilt, and the law of the case doctrine “forecloses relitigation of issues expressly or

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      Case 3:02-cr-00190-FDW           Document 213         Filed 08/29/12      Page 11 of 12
impliedly decided by the appellate court.” United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993).

Petitioner’s grounds for relief as set forth in this habeas proceeding and will be denied and

dismissed.

                                       IV.   CONCLUSION

       IT IS, THEREFORE, ORDERED that Respondent’s Motion for Summary Judgment,

(Doc. No. 23), is GRANTED.

       IT IS FURTHER ORDERED that Petitioner’s Section 2255 motion is DENIED in its

entirety, and DISMISSED. (Doc. No. 1).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the petition states a

debatably valid claim of the denial of a constitutional right).

       SO ORDERED.

                                                  Signed: August 29, 2012




                                                 12


     Case 3:02-cr-00190-FDW            Document 213         Filed 08/29/12      Page 12 of 12
